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  5                           UNITED STATES DISTRICT COURT
  6                        SOUTHERN DISTRICT OF CALIFORNIA
  7
  8    UNITED STATES OF AMERICA,                          CASE NO. 14-MJ-8409-PCL-BEN
  9                                    Appellee,          ORDER AFFIRMING THE
                vs.                                       MAGISTRATE JUDGE’S
 10                                                       IDENTITY FINDING AND
 11                                                       LIFTING THE STAY OF
       ALAN SALDANA-BELTRAN,                              REMOVAL
 12                                    Appellant.
 13
 14         This is an appeal from a Magistrate Judge’s identity determination and order
 15   of transfer. For the following reasons, the Magistrate Judge’s identity determination
 16   is affirmed and the stay of the order to transfer the defendant is lifted.
 17                                       BACKGROUND
 18         On January 16, 2013, Alan Saldana-Beltran was indicted by a grand jury in
 19   the Northern District of Ohio. (AR1 at 34.) Alan Saldana-Beltran was indicted for
 20   conspiracy to possess heroin with the intent to distribute in violation of 21 U.S.C. §§
 21   841 (a)(1), (b)(1)(A), and 846. (Id. at 35.) An arrest warrant was issued on January
 22   17, 2013. Appellant was arrested on May 1, 2014 in the Southern District of
 23   California. (Id. at 32, 45.) At his initial appearance on May 2, 2014, Appellant
 24   appeared before United States Magistrate Judge Peter C. Lewis. (Id. at 45.)
 25         An identity and removal hearing was held on May 14, 2014. The Magistrate
 26   Judge found Appellant to be the person charged in the indictment and ordered the
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                “AR” refers to the appellate record filed by Appellant with his brief.
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  1   defendant transferred to the Northern District of Ohio for trial. (Id. at 46.)
  2   Defendant contests the finding that he is the same person named in the indictment.
  3   Appellant filed a notice of appeal on May 20, 2014, and moved to stay the removal
  4   on May 29, 2014.
  5         There is a dearth of caselaw addressing the standards to be used in a contested
  6   identity hearing or considering whether a magistrate judge’s identity finding may be
  7   appealed to a district judge.
  8         I.     APPELLATE JURISDICTION IS LACKING2
  9         There is no right to appeal a magistrate judge identity finding and transfer
 10   order (historically referred to as a “removal” order from a “removal hearing”).
 11   When a defendant is arrested in a district other than where the alleged offense was
 12   committed, Rule 5 of the Federal Rules of Criminal Procedure requires a magistrate
 13   judge to determine that the arrestee is the same person named in the indictment.
 14   FED. R. CRIM. P. 5(c)(3)(D)(ii) (“the magistrate judge must transfer the defendant to
 15   the district where the offense was allegedly committed if . . . the judge finds that the
 16   defendant is the same person named in the indictment . . . .”).3 This determination,
 17   held in accordance with Rule 5, is a pretrial matter which a magistrate judge has
 18   authority to decide. See 28 U.S.C. § 636(a)(1) (“Each United States magistrate
 19   judge shall have . . . all powers and duties conferred or imposed upon United States
 20   commissioners by law or by the Rules of Criminal Procedure for the United States
 21   District Courts . . . .”); see also U.S. Dist. Ct. Rules S.D. Cal. Crim. LR 57.4.a.1
 22   (authorizing magistrate judges to exercise the jurisdiction granted by the Federal
 23   Rules of Criminal Procedure). Removal hearings and the concomitant identity
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             The Court notes that the Government conceded jurisdiction. Nevertheless,
      the Court will inquire as to its own jurisdiction.
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             It is curious, but likely inconsequential, that Rule 5(c)(3)(D) uses both of the
 27 terms “magistrate judge” and “judge” in the same passage. The term “judge” may
    be an artifact from versions of the rule predating the Federal Magistrates Act. Rule
 28 1(c) makes clear that when Rule 5 (or any other Rule) authorizes a magistrate judge
    to act, “any other federal judge may also act.”
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  1   findings were historically conducted by United States commissioners. See e.g.,
  2   United States v. Levy, 268 U.S. 390, 393-94 (1925) (holding that a commissioners’
  3   decision in a removal hearing is not given res judicata effect, but may be persuasive
  4   in a second removal hearing); see also 1944 adoption of FED. R. CRIM. P. 40 (all
  5   removal hearings shall take place before a United States commissioner or a Federal
  6   judge)4; see generally, Peter G. McCabe, The Federal Lawyer, Vol. 61 (May/June
  7   2014), “A Brief History of the Federal Magistrate Judges Program,” at 44, 47 (“In
  8   the words of the Senate Judiciary Committee report, the central purpose of the
  9   Federal Magistrate Act of 1968 was ‘both to update and make more effective a
 10   system that had not been altered basically for over a century and to cull from the
 11   ever-growing workload of the U.S. district courts matters that are more desirably
 12   performed by a lower tier of judicial officers.’”) .
 13         There is no provision for an appeal from an identity finding and transfer order
 14   of a magistrate judge. From the statutory silence, it is fair to presume that Congress
 15   did not intend to provide a right to appeal. In contrast, Congress did provide a right
 16   to appeal a magistrate judge’s bail determination. Title 28 U.S.C. §3145. The
 17   magistrate judge’s authority to set bail, like the authority to exercise the powers
 18   formerly conferred on United States Commissioners, is contained in 28 U.S.C.
 19   §636(a). Other reasons also support the conclusion that Congress did not intend to
 20   provide defendants a right to appeal a magistrate judge identity and transfer order.
 21         A right to appellate review by a district judge would defeat the Congressional
 22   purpose of 28 U.S.C. §636 and Rule 5 to conserve the district judge’s time. United
 23   States v. Sherriffs, 64 F.R.D. 729, 730 (E.D. Wis. (1974)) (deciding that a
 24   magistrate’s removal order is not appealable and that appeal “would defeat the
 25   purpose of Rule 40(b)(5), which is to conserve the district judge’s time.”); see also
 26   United States v. McCray, 458 F.2d 389 (9th Cir. 1972) (holding there is no right to
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             Effective December 1, 2002, the substance of former Rule 40(a) was moved
 28   to Rules 5 and 5.1. See Advisory Committee Notes to 2002 Amendments to FED. R.
      CRIM. P. 40.
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  1   appeal to the court of appeals from a removal hearing order and observing: “It is
  2   doubtful if there was any jurisdiction in the district court to review . . . the
  3   commissioner’s prior approval of the removal.”); Meltzer v. United States, 188 F.2d
  4   916, 917 (9th Cir. 1951) (“Finally, that there is no appeal from an order of removal
  5   was laid down by this Court in Fries v. United States, 284 F. 825 (9th Cir. 1922).
  6   This is a leading case.”); see also United States v. Green, 499 F.2d 538, 541 (D.C.
  7   Cir 1974) (“The upshot of it all is that once a certified copy of the indictment is
  8   produced at a removal hearing, the only issue remaining litigable is the identity of
  9   the arrestee as the indictee. The clear mandate of Rule 40 sharply limits the function
 10   and authority of the magistrate, and by the same token the jurisdiction of the district
 11   court for the transferor district.”).
 12          Finally, a right to appellate review by a district judge would delay
 13   proceedings, as it has done in this case, and provide defendants a dilatory avenue to
 14   frustrate prosecution. By omitting a right to appeal, Rule 5 balances the competing
 15   concerns of improvident removal and dilatory delay. The Advisory Committee
 16   Notes to the 1944 adoption of Rule 40 explain, “experience has shown that removal
 17   proceedings have at times been used by defendants for dilatory purposes and in
 18   attempting to frustrate prosecution by preventing or postponing transportation . . . .”
 19   United States v. McCord, 695 F.2d 823, 826 (5th Cir. 1983) (“The purpose of the
 20   Rule 40 removal proceeding is to afford defendants reasonable protection, to
 21   safeguard them against improvident removal to a distant point for trial and to curb a
 22   defendant’s opportunity for delay and obstruction of prosecution.”).
 23          Preventing delay is important in criminal cases. Kassin v. Mulligan, 295 U.S.
 24   396, 401 (1935) (“In view of the delays and obstructions that it is possible for
 25   persons accused to obtain and interpose by misuse of the right to be heard before
 26   removal, section 1014 is to be construed quite favorably to the government’s
 27   applications.”) (emphasis added). A compelling indication of Congressional intent
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  1   to prevent dilatory delay in removal cases is also evident from 28 U.S.C. § 2253.5
  2   Section 2253 denies the right of appeal in a habeas corpus case brought to test the
  3   validity of a warrant to remove a defendant in a criminal case. Galloway v. United
  4   States, 302 F.2d 457, 458 (10th Cir. 1962) (“For this same purpose Congress, by
  5   statute, has denied the right of appeal in a habeas corpus case brought to test the
  6   validity of a warrant to remove a defendant in a criminal case . . . .”). Permitting an
  7   appeal in the transferor court of a magistrate judge Rule 5 transfer order exacerbates
  8   delay and frustrates the Congressional interest in speedy prosecution in the district
  9   of indictment.
 10         A magistrate judge is authorized to conduct identity hearings and order
 11   transfer to another district where an indictment is pending under the authority of 28
 12   U.S.C. §636(a) and Rule 5. No statute or rule provides for a right of appeal to the
 13   district court. Permitting an appeal would invite defendants to engage in dilatory
 14   delay and frustration of prosecution. Permitting an appeal would also consume
 15   scarce resources of Article III jurists that are intended to be conserved by the office
 16   of the magistrate judge. Therefore, there is no right of appeal or review by this
 17   Court and this Court lacks jurisdiction to entertain Defendants’ appeal.
 18         Alternatively, under the Federal Magistrates Act, a district court necessarily
 19   retains general supervisory authority to review the decisions of a federal magistrate
 20   judge acting pursuant to 28 U.S.C. 636(b). United States v. Raddatz, 447 U.S. 667,
 21   681 (1980) (recognizing that Congress addressed concerns of appointing non-Article
 22   III officers with judicial authority under §636(b) by requiring “the magistrate to act
 23   subsidiary to and only in aid of the district court”). Given the Article III concerns
 24   associated with designating judicial decision-making power to magistrate judges and
 25   the authority granted to district courts under the Federal Rules of Criminal Procedure
 26   and Federal Magistrates Act, this Court finds that it has discretionary authority to
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            5
            Section 2253 concerns federal habeas corpus proceedings. Subsection
 28   2253(b) provides in part, “There shall be no right of appeal from a final order in a
      proceeding to test the validity of a warrant to remove to another district . . . .”
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  1   review an identity finding and transfer order when a magistrate judge acts pursuant
  2   to a referral under §636(b).
  3         In this case, the Court will exercise its discretionary supervisory authority and
  4   review the identity finding of the magistrate judge.
  5         II.    STANDARD OF REVIEW
  6         The ruling in an identity hearing is nondispositive, as it does not end or
  7   dispose of a case.6 For nondispositive matters referred to a magistrate judge under
  8   28 U.S.C. §636(b), appeals to the district court are governed by Federal Rule of
  9   Criminal Procedure 59(a), which states in part, “[t]he district judge must consider
 10   timely objections and modify or set aside any part of the [magistrate judge’s] order
 11   that is contrary to law or clearly erroneous.” FED. R. CRIM. P. 59(a); see also 28
 12   U.S.C. § 636(b)(1)(A) (noting that the district court may reconsider magistrate
 13   findings that are “clearly erroneous”). A finding is clearly erroneous when
 14   “although there is evidence to support it, the reviewing court on the entire evidence
 15   is left with the definite and firm conviction that a mistake has been committed.”
 16   United States v. United States Gypsum Co., 333 U.S. 364, 395 (1948).
 17         III.   IDENTITY FINDING AND TRANSFER ORDER
 18         Appellant contends that the magistrate judge should have applied a
 19   preponderance-of-the-evidence standard for establishing that he was the person
 20   named in the indictment issued in the Northern District of Ohio. In addition,
 21   Appellant argues that the evidence relied on in the identity hearing was not
 22   sufficiently “competent and reliable.” In particular, Appellant argues that the
 23   testimonial evidence was exclusively hearsay and the photographic and fingerprint
 24   evidence was unreliable.
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            A defendant can still pursue an identity defense if he is removed to the
    indicting court. See United States v. Green, 499 F.2d 538, 541 (D.C. Cir. 1974)
 27 (“The full panoply of defenses is, of course, available to the arrestee in the transferee
    court.”). If a magistrate judge orders a defendant released after a removal hearing,
 28 the decision is not res judicata and while persuasive, the defendant may be again
    arrested and removal considered. United States v. Levy, 268 U.S. 390 (1924).
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  1                A.     THE PROBABLE CAUSE STANDARD
  2         Rule 5 of the Federal Rules of Criminal Procedure does not explicitly
  3   articulate a standard for courts to apply when determining whether an arrestee is the
  4   person named in an indictment. Of the small number of courts to address the issue,
  5   most have applied a probable cause standard. See generally United States v.
  6   Antoine, 796 F. Supp. 2d 417, (E.D.N.Y. 2011) (“Therefore, this court finds that the
  7   magistrate judge properly applied the standard of probable cause to determine
  8   whether removal was warranted.”); United States v. Rodriguez-Torres, No. 14 Mag.
  9   1095 (JLC), 2014 WL 2320081 (S.D.N.Y. May 30, 2014); United States v.
 10   Martinez-Leon, 565 F. Supp. 2d 1131 (C.D. Cal. 2008). Rule 5.1 states that in a
 11   preliminary hearing a magistrate judge must require a defendant to appear for further
 12   proceedings where the magistrate “finds probable cause to believe an offense has
 13   been committed and the defendant committed it.” FED. R. CRIM. P. 5.1.
 14         Of course, where an indictment has already issued, there is no need for a
 15   preliminary hearing to determine probable cause. Green, 499 F.2d 540-41. All that
 16   remains to be decided prior to transfer is the question of the arrestee’s identity.
 17   Kassin v. Mulligan, 295 U.S. 396, 400 (1935). The district court in Antoine mused
 18   that it would make little sense for an identity and removal hearing to carry a higher
 19   standard than the probable cause standard applicable to a Rule 5.1 preliminary
 20   hearing or a grand jury indictment. Antoine, 796 F. Supp. 2d at 420. That is true.
 21   Nevertheless, it would also make sense to have an identity standard that is less
 22   rigorous that the probable cause standard, since probable cause to believe a crime
 23   has been committed and a person named committed it has already been determined
 24   by a grand jury. The Ninth Circuit suggested as much in the habeas corpus case of
 25   Smith v. United States, 92 F.2d 460, 461 (1937). In Smith, an arrestee contended
 26   that she was not the person identified in the indictment. The court of appeals
 27   observed, “An indictment is sufficient to show probable cause that a crime has been
 28   committed. An identity of names is sufficient to create an inference of identity which

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  1   the petitioner must rebut.” 92 F.2d at 461 (emphasis added).
  2          Defendant cites two cases for the proposition that the standard for identity
  3   and removal hearings is higher than probable cause. This Court is not persuaded. In
  4   United States v. Varnes, the only reference to a standard of proof was at the end of
  5   the opinion where the court said the Government sustained its burden by a
  6   preponderance of the evidence. Varnes, No. 10-0203M, 2010 WL 2035573, at *5
  7   (D. Ariz. 2010). The opinion never indicated that this was the standard to be
  8   applied. In United States v. Teju, the only reference to a standard of proof was a
  9   statement that the Government proved the defendant’s identity by clear and
 10   convincing evidence. Teju, 2013 U.S. Dist. LEXIS 30863, 11 (W.D. La 2013).
 11   There is no indication in either case of the required standard. Even if these courts
 12   were applying a different, higher standard, this Court is not persuaded that the
 13   magistrate judge here was clearly erroneous.
 14                B.     ADMISSIBILITY OF EVIDENCE IN IDENTITY HEARINGS
 15         Rule 1101(d)(3) of the Federal Rules of Evidence indicates that miscellaneous
 16   proceedings, such as extradition proceedings, are exempt from the specific
 17   requirements of the rules of evidence. FED. R. EVID. 1101(d)(3). Hearsay evidence
 18   is generally admissible during a removal hearing. United States v. Whitehurst, 116
 19   F.R.D. 511 (D. Minn. 1988). However, the reviewing judge should determine the
 20   reliability of the evidence provided.7 United States v. Jeffries, 679 F. Supp. 1114,
 21   1118 (M.D. Ga. 1988). Once the Government has introduced reliable evidence of
 22   identity, the burden of persuasion is shifted to the defendant to rebut the
 23   presumption. Antoine, 796 F. Supp. at 421 (applying a probable cause standard).
 24   One law professor and former magistrate judge describes the process like this:
 25                The manner in which the hearing is conducted depends
                   largely on the forms of evidence upon which the
 26                government will rely to discharge its burden of showing
                   that the defendant is the person wanted in the district
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             Caselaw is not clear as to what constitutes reliable evidence in the absence of
      the Federal Rules of Evidence standards.
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  1                where the charges are pending. The prosecution, bearing
                   this burden, will proceed first, presenting the witnesses and
  2                evidence at its disposal. The defendant has the right to
                   cross-examine and oppose any of the material so offered.
  3                Thereafter, the defendant may offer proof in rebuttal of the
                   identity issue, if desired.
  4
  5   K. Sinclair, Jr., Practice Before Federal Magistrate Judges (2013), §6.06 Criminal
  6   “Removal” Hearings, at 6-8.
  7         At the identity hearing in this case, the United States relied on the testimony
  8   of Andrew Ohlson, a Federal Bureau of Investigations (“FBI”) Special Agent, to
  9   establish the identity of the Appellant as Saldana-Beltran. (Id. at 4.) The United
 10   States also provided evidence of a fingerprint card, a copy of the arrest warrant from
 11   the Northern District of Ohio, and booking photographs of Mr. Saldana-Beltran
 12   taken in the Southern District of California. (Id. at 8, 10, 16, 32, 39-42.)
 13         Agent Ohlson testified regarding the reliability of the Joint Automated
 14   Booking System (“JABS”), and he noted that the FBI places its fingerprints and
 15   booking photos in the JABS system. (Id. at 5-6.) He also testified that the
 16   fingerprint cards and booking photos are sent from JABS to the Criminal Justice
 17   Information System (“CJIS”), where they are analyzed. (Id. at 5, 10.) Agent Olson
 18   was initially alerted to Saldana-Beltran’s whereabouts after Appellant was
 19   apprehended by Customs and Border Patrol (“CBP”) authorities in Calexico for
 20   trying to illegally enter the United States. (Id. at 6.) The CBP authorities had taken
 21   fingerprints and booking photos and submitted them to JABS, who subsequently
 22   sent them to CJIS for analysis. (Id. at 8-9.) According to the response from CJIS,
 23   “the fingerprints came back to Alan Saldana-Beltran.” (Id. at 10-11.)
 24         Agent Ohlson also testified that he conducted a follow-up investigation with
 25   Special Agent Kyle Fulmer, the original case agent for the Ohio investigation, after
 26   receiving the identification from CJIS. (Id. at 11.) Agent Fulmer retrieved the
 27   photographs that were submitted to JABS and was able to confirm that the
 28   photographs of the Appellant matched the deportation photographs of Alan Saldana-

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   1   Beltran. (Id.) These deportation photographs had been originally identified as
   2   Saldana-Beltran by Roberto Villanueva, a co-defendant of Saldana-Beltran. (Id. at
   3   12.) Villanueva stated that he had dealt with “Mr. Beltran on several different
   4   occasions” and that he knew that Mr. Beltran had been previously arrested and
   5   deported. (Id. at 13.) In exchange for his cooperation, Mr. Villanueva received a
   6   recommendation for a sentencing reduction. (Id. at 14.)
   7         Throughout the hearing, Appellant’s attorney raised objections based on the
   8   Federal Rules of Evidence. (Id. at 7, 8, 10, 12-15, 18.) These objections concerned
   9   the reliability of the photograph and fingerprint evidence that were introduced
  10   during the hearing. Each of these objections were overruled because the rules of
  11   evidence do not apply in identification and removal hearings. (Id. at 7, 8, 10, 12-15,
  12   18, 25-26.) More importantly, the evidence was reliable and convincing. The
  13   Magistrate Judge concluded that even though the photographic evidence may be
  14   somewhat “tenuous,” the addition of the “much stronger” fingerprint evidence
  15   convinced him by at least a preponderance of the evidence that there is probable
  16   cause to believe that the Appellant was the Alan Saldana-Beltran wanted in the
  17   Northern District of Ohio. (Id. at 26.)
  18         To sum up, the government introduced photographic, fingerprint, and
  19   testimonial evidence to establish probable cause to believe that the Appellant is the
  20   Alan Saldana-Beltran charged in the Northern District of Ohio. A veteran FBI agent
  21   testified that he had followed up with the original case agent that had identified Mr.
  22   Saldana-Beltran. He testified to the reliability of the fingerprint identification
  23   system, and he concluded that the Appellant is Alan Saldana-Beltran. The
  24   magistrate judge was convinced that the evidence was sufficient to prove, by a
  25   preponderance of the evidence,8 that the Appellant is the Alan Saldana-Beltran
  26
  27         8
             Appellant contends that, by virtue of the doctrine of judicial estoppel, the
     government cannot argue that the standard in an identity hearing is probable cause,
  28 as they previously argued that the standard was a preponderance of the evidence.
     See Whaley v. Belleque, 520 F.3d 597, 600 (9th Cir. 1996). This is meritless.
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   1   named in the indictment.
   2         This Court agrees. The evidence introduced by the government, without
   3   rebuttal by the defense, is enough to satisfy the probable cause standard. Aside from
   4   a few suggestions that the evidence introduced by the government was not in
   5   compliance with the Federal Rules of Evidence – which do not apply in this case –
   6   Appellant has offered no evidence to suggest he is not the Alan Saldana-Beltran
   7   named in the indictment. Given these facts, the government has sufficiently proven
   8   identity. Smith, 92 F.2d at 461 (“An identity of names is sufficient to create an
   9   inference of identity which the petitioner must rebut.”).
  10         Consequently, this Court cannot say that it is left “with the definite and firm
  11   conviction that a mistake has been committed.” United States Gypsum Co., 333 U.S.
  12   at 395. Accordingly, this Court finds that the Government has met its burden of
  13   proving that the Appellant /arrestee is the Alan Saldana-Beltran named in the
  14   Northern District of Ohio indictment.
  15                                      CONCLUSION
  16         For the reasons stated above, the Motion to Stay the Order of Removal is
  17   DENIED. The Magistrate Judge’s identity finding and order of transfer to the
  18   Northern District of Ohio for trial is AFFIRMED. The temporary stay is lifted and
  19   the Defendant shall be transferred to the Northern District of Ohio forthwith.
  20         IT IS SO ORDERED.
  21   DATED: August 1, 2014
  22
  23                                            Hon. Roger T. Benitez
                                                United States District Judge
  24
  25
  26 Whaley concerned a state that argued in state court that a petitioner’s claim was
     moot and then – once in federal court – turned around and argued that the petitioner
  27 needed to pursue their remedies in state court before bringing their claim to federal
     court. The issue there focused on whether taking incompatible positions seriously
  28 disadvantaged the habeas petitioner. In this case, Appellant retains all the rights and
     abilities to vigorously defend himself without any such disadvantage.
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